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                                                        1   Kresta Nora Daly, SBN 199689
                                                            Thomas W. Barth, SBN 154075
                                                        2   BARTH TOZER & DALY LLP
                                                            431 "I" Street, Suite 201
                                                        3   Sacramento, California 95814
                                                            Telephone: (916) 440-8600
                                                        4   Facsimile: (916) 440-9610
                                                            Email: kdaly@btdlaw.net
                                                        5
                                                            Attorneys for Defendant
                                                        6   KRISTINE ATOYAN

                                                        7

                                                        8                               IN THE UNITED STATES DISTRICT COURT

                                                        9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                       10

                                                       11   UNITED STATES OF AMERICA,                           Case No. 2:11-CR-00467-JAM

                                                       12                  Plaintiff,
B ARTH T OZER & D AL Y LLP




                                                                                                                STIPULATION AND
                        S ACRAMENTO , C AL I FORNI A




                                                       13          v.                                           ORDER
                            A TTORNE YS A T L AW




                                                       14   ZHORA DARMOYAN,
                                                            MARAT GALOYAN,                                      Date: January 28, 2013
                                                       15   MARTIN ATOYAN and,                                  Time: 9:45 a.m.
                                                            KRISTINE ATOYAN,                                    Judge: Honorable John A. Mendez
                                                       16
                                                                           Defendants.
                                                       17

                                                       18                 It is hereby stipulated and agreed to between the United States of America through

                                                       19   Steve Lapham, Assistant U.S. Attorney, and defendants Zhora Darmoyan, through his counsel,

                                                       20   Dwight Samual, Marat Galoyan, through his counsel Chris Hadyn-Myer, Martin Atoyan, through

                                                       21   his counsel J. Toney, and Kristine Atoyan, through her counsel, Kresta Nora Daly as follows:

                                                       22                 1.       By previous order, this matter was set for status on January 29, 2013.

                                                       23                 2.       By this stipulation, defendants now move to continue the status conference

                                                       24   until March 12, 2013 at 9:45 a.m., and to exclude time between January 29, 2012 and March 12,

                                                       25   2013 under Local Code T4. Plaintiff does not oppose this request.

                                                       26                 3.       The parties agree and stipulate, and request that the Court find the

                                                       27   following:

                                                       28                          (a)     Defense counsel is in the process of reviewing the discovery.
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Defense counsel and each of them have not completed their review and are therefore unprepared

to meet and confer with the government to resolve discovery issues.

                       (b)     Counsel for defendants desire additional time to consult with each

of their clients, to review the current charges, to conduct investigation and research related to the

charges, to review and copy discovery for this matter, to discuss potential resolutions with each of

their clients, to prepare pretrial motions and otherwise prepare for trial.

                       (c)     Counsel for defendants believe failure to grant the above-requested

continuance would deny each of them reasonable time necessary for effective preparation, taking

into account the exercise of due diligence.

                       (d)     The government does not object to the continuance.

                       (e)     Based on the above-stated findings, the ends of justice served by

continuing the case as requested outweigh the interests of the public and the defendants in a trial

within the original date prescribed by the Speedy Trial Act.

                       (f)     For the purpose of computing time under the Speedy Trial Act,

Title 18, United States Code Section 3161, et seq., within which trial must commence, the time

period of December 17, 2012 to February 25, 2012, inclusive, is deemed excludable pursuant to

Title 18, United States Code Section 3161(h)(7)(A), B(iv) [Local Code T4] because it results

from a continuance granted by the Court at defendants' request on the basis of the Court's finding

that the ends of justice served by taking such action outweigh the best interests of the public and

the defendants in a speedy trial.

                       (g)     This case involves multiple witnesses and multiple defendants and

concerns allegations of mortgage fraud in separate but related cases including United States v.

Kuzmenko, et al 2:11-CR-00210.

               4.      Nothing in this stipulation and order shall preclude a finding that other

provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

period within which a trial must commence.

               The parties request that speedy trial time be excluded from the date of this order

through the date of the status conference set for March 12, 2013 pursuant to Title 18, United
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States Code Section 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).

Dated: January 28, 2013.             Respectfully submitted,


                                     By     /s/ Kresta Nora Daly
                                            DWIGHT SAMUAL
                                      Attorney for ZHORA DARMOYAN




Dated: January 28, 2013.             By     /s/ Kresta Nora Daly
                                            CHRIS HADYN-MYER
                                     Attorney for MARAT GALOYAN



Dated: January 28, 2013              By     /s/ Kresta Nora Daly
                                            J. TONEY
                                     Attorney for MARTIN ATOYAN



Dated: January 28, 2013.             BARTH TOZER & DALY LLP


                                     By     /s/ Kresta Nora Daly
                                            KRESTA NORA DALY
                                      Attorneys for KRISTINE ATOYAN



Dated: January 28, 2013.             By       /s/ Kresta Nora Daly
                                              LEE BICKLEY
                                              Assistant United States Attorney



                                            ORDER

              IT IS SO ORDERED.

Dated: 1/28/2013
                                        /s/ John A. Mendez________________________
                                        HONORABLE JOHN A. MENDEZ
                                        UNITED STATES DISTRICT COURT JUDGE




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                           OPPOSITION TO MOTION FOR APPOINTMENT OF RECEIVER
